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                 IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 IN RE:                              )       CHAPTER 11
                                     )
 ATLANTA LIGHT BULBS, INC.,          )       CASE NO. 22-52950-PMB
                                     )
      Debtor.                        )       JUDGE PAUL M. BAISIER
 ---------------------------         )
                                     )
 FORD MOTOR CREDIT COMPANY,          )   -------------------------------
 LLC A DELAWARE LIMITED              )
 LIABILITY COMPANY,                  )       CONTESTED MATTER
                                     )
          Movant,                    )
                                     )
 vs.                                 )
                                     )
 ATLANTA LIGHT BULBS, INC.,          )
                                     )
                                     )
          Respondents.               )
                                     )
                                     )
                                     )

                              NOTICE OF HEARING
PLEASE TAKE NOTICE that Ford Motor Credit Company, LLC A Delaware Limited
Liability Company has filed a Motion to Terminate Stay and to Authorize Movant
to Take Possession of Collateral and related papers with the Court seeking an
order lifting the stay as to a certain vehicles as described in the motion.

PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic hearing
for announcements on the Motion to Terminate Stay at the following number: 1-833-
568-8864; meeting id 161 706 9079, at 1:00 P.M. on 06/27/2022 in Courtroom 1202,
United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303.

Matters that need to be heard further by the Court may be heard by telephone, by
video conference, or in person, either on the date set forth above or on some
other day, all as determined by the Court in connection with this initial
telephonic hearing. Please review the “Hearing Information” tab on the judge’s
webpage, which can be found under the “Dial-in and Virtual Bankruptcy Hearing
Information” link at the top of the webpage for this Court, www.ganb.uscourts.gov
for more information.

Your rights may be affected by the Court’s ruling on these pleadings. You should
read these pleadings carefully and discuss them with your attorney, if you have
one in this bankruptcy case. (If you do not have an attorney, you may wish to
consult one.) If you do not want the Court to grant the relief sought in these
pleadings, or if you want the Court to consider your views, then you and/or your
attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to
do so. If you file a response, you must attach a certificate stating when, how
and on whom (including addresses) you served the response. Mail or deliver your
response so that it is received by the Clerk at least two business days before
the hearing.    The address for the Clerk’s Office is: Clerk, United States
Bankruptcy Court, Richard B. Russell Federal Building & U.S. Courthouse, 75 Ted
Turner Drive, SW, Atlanta, GA 30303-3361.
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If a hearing on the motion for relief from the automatic stay cannot be held
within thirty (30) days, Movant waives the requirement for holding a preliminary
hearing within thirty days of filing the motion and agrees to a hearing on the
earliest possible date. Movant consents to the automatic stay remaining in effect
until the Court orders otherwise.


                                            /s/   Ronald A. Levine
                                            Ronald A. Levine, Ga. Bar No. 448736
                                            LEVINE & BLOCK, LLC.
                                            P.O. Box 422148
                                            Atlanta, Georgia 30342
                                            (404) 231-4567
                                            Attorney for Movant
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                IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 IN RE:                              )        CHAPTER 11
                                     )
 ATLANTA LIGHT BULBS, INC.           )        CASE NO. 22-52950-PMB
                                     )
      Debtor.                        )        JUDGE PAUL M. BAISIER
 ---------------------------         )
                                     )    -------------------------------
 FORD MOTOR CREDIT COMPANY,          )
 LLC A DELAWARE LIMITED              )        CONTESTED MATTER
 LIABILITY COMPANY,                  )
                                     )
          Movant,                    )
                                     )
 vs.                                 )
                                     )
 ATLANTA LIGHT BULBS, INC. ,         )
                                     )
                                     )
          Respondents.               )
                                     )
                                     )
                                     )

        MOTION TO TERMINATE STAY AND TO AUTHORIZE MOVANT TO
                   TAKE POSSESSION OF COLLATERAL
       COMES NOW FORD MOTOR CREDIT COMPANY, LLC A DELAWARE LIMITED
LIABILITY COMPANY, (hereinafter referred to as "FMCC") and
respectfully represents the following:
                                         1.
       The within and foregoing Petition was filed by Petitioning
Creditors as an involuntary case under Chapter 11 of the
Bankruptcy Code on 04/15/2022.


                                         2.
                             Account # xxxx1084
       Debtor executed a contract, which was assigned to FMCC, with
FMCC retaining a security interest in the vehicle (2020 Ford
T250, VIN 1FTBR1C81LKB23773) described therein, all of which is
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more fully described in the Proof of Claim on file with the
court. The debt is also secured by the other vehicles described
in this motion pursuant to a Cross-Collateral Cross-Default
Agreement.
                                       2a.
      Movant is presently unable to take possession of and enforce
its contractual rights unless the Court terminates, annuls,
modifies, or otherwise conditions the automatic stay under 11
U.S.C. Sec. 362.
                                       2b.
      Movant does not have and has not been offered adequate
protection by the Respondents. The Debtor has not paid FMCC in
accordance with the contract as the account is in default and
delinquent. The account is presently due for the 04/22/2022
payment ($984.04 per month) and each payment thereafter.
                                       2c.
      Further, the aforedescribed vehicle is depreciating in value
daily and the Debtor has no equity in the vehicle.               The debt
owing on the account is $39,978.01, while the approximate value
is $37,450.00 wholesale.
                                       3.
                         Account # xxxx9230
      Debtor executed a contract, which was assigned to FMCC, with
FMCC retaining a security interest in the vehicle (2021 Ford
F150, VIN 1FTFW1ED8MFB50953) described therein, all of which is
more fully described in the Proof of Claim on file with the
court. The debt is also secured by the other vehicles described
in this motion pursuant to a Cross-Collateral Cross-Default
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Agreement.
                                       3a.
      Movant is presently unable to take possession of and enforce
its contractual rights unless the Court terminates, annuls,
modifies, or otherwise conditions the automatic stay under 11
U.S.C. Sec. 362.
                                       3b.
      Movant does not have and has not been offered adequate
protection by the Respondents. The Debtor has not paid FMCC in
accordance with the contract as the account is in default and
delinquent. The account is presently due for the 02/22/2022
payment ($1,897.09 per month) and each payment thereafter, with a
total arrearage of $3,844.18.
                                       3c.
      Further, the aforedescribed vehicle is depreciating in value
daily and the Debtor has no equity in the vehicle.               The debt
owing on the account is $91,652.17, while the approximate value
is $80,675.00 retail.
                                       4.


                         Account # xxxx0396
      Debtor executed a contract, which was assigned to FMCC, with
FMCC retaining a security interest in the vehicle (2021 Ford
F250, VIN 1FT7W2BT6MED85279) described therein, all of which is
more fully described in the Proof of Claim on file with the
court. The debt is also secured by the other vehicles described
in this motion pursuant to a Cross-Collateral Cross-Default
Agreement.
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                                       4a.
      Movant is presently unable to take possession of and enforce
its contractual rights unless the Court terminates, annuls,
modifies, or otherwise conditions the automatic stay under 11
U.S.C. Sec. 362.
                                       4b.
      Movant does not have and has not been offered adequate
protection by the Respondents. The Debtor has not paid FMCC in
accordance with the contract as the account is in default and
delinquent. The account is presently due for the 02/02/2022
payment ($1,872.35 per month) and each payment thereafter, with a
total arrearage of $3,844.70.
                                       4c.
      Further, the aforedescribed vehicle is depreciating in value
daily and the Debtor has no equity in the vehicle.               The debt
owing on the account is $91,979.39, while the approximate value
is $79,125.00 retail.


                                       5.
                       Account # xxxx0914
      Debtor executed a contract, which was assigned to FMCC, with
FMCC retaining a security interest in the vehicle (2021 Ford
F150, VIN 1FTFW1E51MKD64134) described therein, all of which is
more fully described in the Proof of Claim on file with the
court. The debt is also secured by the other vehicles described
in this motion pursuant to a Cross-Collateral Cross-Default
Agreement.
                                       5a.
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      Movant is presently unable to take possession of and enforce
its contractual rights unless the Court terminates, annuls,
modifies, or otherwise conditions the automatic stay under 11
U.S.C. Sec. 362.
                                       5b.
      Movant does not have and has not been offered adequate
protection by the Respondents. The Debtor has not paid FMCC in
accordance with the contract as the account is in default and
delinquent. The account is presently due for the 03/26/2022
payment ($1,683.23 per month) and each payment thereafter, with a
total arrearage of $1,733.23.
                                       5c.
      Further, the aforedescribed vehicle is depreciating in value
daily and the Debtor has no equity in the vehicle.               The debt
owing on the account is $78,526.62, while the approximate value
is $58,650.00 wholesale.


                                       6.
                       Account # xxxx0413
      Debtor executed a contract, which was assigned to FMCC, with
FMCC retaining a security interest in the vehicle (2021 Ford
F150, VIN 1FTFW1E89MFB90817) described therein, all of which is
more fully described in the Proof of Claim on file with the
court. The debt is also secured by the other vehicles described
in this motion pursuant to a Cross-Collateral Cross-Default
Agreement.
                                       6a.
      Movant is presently unable to take possession of and enforce
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its contractual rights unless the Court terminates, annuls,
modifies, or otherwise conditions the automatic stay under 11
U.S.C. Sec. 362 .
                                       6b.
      Movant does not have and has not been offered adequate
protection by the Respondents. The Debtor has not paid FMCC in
accordance with the contract as the account is in default and
delinquent. The account is presently due for the 03/04/2022
payment ($1,587.95 per month) and each payment thereafter, with a
total arrearage of $3,275.90.
                                       6c.
      Further, the aforedescribed vehicle is depreciating in value
daily and the Debtor has no equity in the vehicle.               The debt
owing on the account is $78,023.84, while the approximate value
is $62,900.00 wholesale.


                                       7.
                       Account # xxxx6810
      Debtor executed a contract, which was assigned to FMCC, with
FMCC retaining a security interest in the vehicle (2019 Ford
E350, VIN 1FDWE3F68KDC60873) described therein, all of which is
more fully described in the Proof of Claim on file with the
court. The debt is also secured by the other vehicles described
in this motion pursuant to a Cross-Collateral Cross-Default
Agreement.
                                       7a.
      Movant is presently unable to take possession of and enforce
its contractual rights unless the Court terminates, annuls,
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modifies, or otherwise conditions the automatic stay under 11
U.S.C. Sec. 362.
                                       7b.
      Movant does not have and has not been offered adequate
protection by the Respondents. The Debtor has not paid FMCC in
accordance with the contract as the account is in default and
delinquent. The account is presently due for the 04/04/2022
payment ($1,031.76 per month) and each payment thereafter, with a
total arrearage of $1,131.76.
                                       7c.
      Further, the aforedescribed vehicle is depreciating in value
daily and the Debtor has no equity in the vehicle.               The debt
owing on the account is $39,602.33, while the approximate value
is $45,459.00 wholesale.


                                       8.
                       Account # xxxx0773
      Debtor executed a contract, which was assigned to FMCC, with
FMCC retaining a security interest in the vehicle (2019 Ford
E350, VIN 1FDWE3F67KDC60881) described therein, all of which is
more fully described in the Proof of Claim on file with the
court. The debt is also secured by the other vehicles described
in this motion pursuant to a Cross-Collateral Cross-Default
Agreement.
                                       8a.
      Movant is presently unable to take possession of and enforce
its contractual rights unless the Court terminates, annuls,
modifies, or otherwise conditions the automatic stay under 11
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U.S.C. Sec. 362.
                                       8b.
      Movant does not have and has not been offered adequate
protection by the Respondents. The Debtor has not paid FMCC in
accordance with the contract as the account is in default and
delinquent. The account is presently due for the 04/04/2022
payment ($1,033.72 per month) and each payment thereafter, with a
total arrearage of $1,133.72.
                                       8c.
      Further, the aforedescribed vehicle is depreciating in value
daily and the Debtor has no equity in the vehicle.               The debt
owing on the account is $39,671.22, while the approximate value
is $44,859.00 wholesale.


                                       9.
     The total aggregate debt on all the accounts is $459,433.58,
while the total approximate value is $409,118.00.
                                       10.
      Movant makes this request pursuant to 11 U.S.C. §362 and
seeks a hearing pursuant to §362(e) and waives right to hearing
within thirty (30) days as provided by 11 U.S.C. Section 362(e).
      WHEREFORE, Movant prays:
      (a)   That the Court grant Movant an immediate hearing;
      (b)   That the Movant be granted a final hearing within
            thirty (30) days from the date of said hearing,
            pursuant to 11 U.S.C. Sec. 362(e), and that upon final
            hearing, the Stay be terminated;
      (c)   That after notice and hearing, the Movant be entitled
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            to unrestrained possession, custody and control of the
            aforedescribed collateral and be permitted to proceed
            as by law allowed;
      (d)   That the Court grant immediate relief and waive the
            requirement of Bankruptcy Rule 4001(a)(3); and
      (e)   That the Court grant such other relief as is just and
            proper.

                                            Respectfully submitted,
                                            LEVINE & BLOCK, LLC

                                      BY:   /s/ Ronald A. Levine
                                            Ronald A. Levine, Esq.
                                            [GA Bar No. 448736]
                                            ATTORNEYS FOR MOVANT
P.O. Box 422148
Atlanta, GA 30342
(404) 231-4567
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                                            BANKRUPTCY NO.22-52950-PMB
                                            CHAPTER 11
                                            JUDGE PAUL M. BAISIER

                         CERTIFICATE OF SERVICE

   I, Ronald A. Levine, Esq. of Levine & Block, LLC.,P.O. Box No.

422148, Atlanta, Georgia 30342 certify:

   That I am, and at all times hereinafter mentioned, was more

than 18 years of age:

   That on the 16th day of May, 2022, I electronically filed the

within and foregoing NOTICE OF ASSIGNMENT OF HEARING together

with the MOTION FOR RELIEF FROM STAY with the Clerk of Court

using the CM/ECF system which will automatically send an email

notification of such filing to the parties or attorney of record.

I have also on this day caused a copy of the pleading to be

placed in the first class United States mail, postage prepaid

addressed to the following recipients not participating in the

CM/ECF system as follows:



Atlanta Light Bulbs, Inc.
2109 Mountain Industrial Blvd
Tucker, Georgia 30084

John C. Cannizzaro
Ice Miller LLP
250 West Street, Suite 700
Columbus, OH 43215


Kathleen G. Furr
Baker Donelson
3414 Peachtree Road, NE
Suite 1500, Monarch Plaza
Atlanta, GA 30326
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Jason M. Torf
Ice Miller LLP
200 W. Madison Street
Suite 3500
Chicago, IL 60606
Halco Lighting Technologies, LLC
2940 Pacific Drive
Norcross, GA 30071

Candela Corporation
5600 Argosy Ave, Suite 300
Huntington Beach, CA 92649

Norcross Electric Supply Company
4190 Capital View Drive
Suwanee, GA 30024
United States Trustee
362 Richard Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, GA 30303
Todd H. Surden
Hartman Simons & Wood LLP
400 Interstate North Parkway SE, Suite 600
Atlanta, GA 30339
Kristen A. Yadlosky
Hartman Simons & Wood LLP
400 Interstate North Parkway SE, Suite 600
Atlanta, GA 30339
Scott B. McMahan
3562 Habersham at Northlake
Building J, Suite 200
Tucker, Georgia 30084
Leslie M. Pineyro
Jones & Walden LLC
699 Piedmont Avenue, NE
Atlanta, Georgia 30308

And upon those parties having filed a Notice of Appearance.
I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

Executed on 05/16/2022                      By:   /s/ Ronald A. Levine
             (Date)                               Ronald A. Levine, Esq.
                                                  (Ga. Bar No. 448736)
